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                                                                     U.S. OISTRrCT COURT
                                                                        SAVANH WV.
                 UNITED STATES DISTRICT COURT
                                                                     2015N0V20 P11 :O5
                SOUTHERN DISTRICT OF GEORGIA
                                                                    CLERL
                                                                            IWF GA.
                         SAVANNAH DIVISION

JAVIER MURILLO-SOLIS,

      Movant,

V.                                             Case No, 0V415-314
                                                        CR413421
UNITED STATES OF AMERICA,

      Respondent.

                    REPORT AND RECOMMENDATION

      After pleading guilty to conspiracy and possession of a firearm

during a drug trafficking offense, Javier Murillo-Solis moves under 28

U.S.C. § 2255 to have his sentence reduced to time served. Doe. 395.

Preliminary review under Rule 4 of the Rules Governing Section 2255

Proceedings shows that his motion must be DENIED as untimely.

      The Court entered judgment against Murillo-Solis on February 20,

2014, doe. 204, and he had one year from the date his conviction became

final to seek § 2255 relief. 28 U.S.C. § 2255(f). Since he filed no appeal,

his conviction became final and § 2255(f)'s one-year clock began to tick

on March 6, 2014. Fed. R. App. P. 4(b)(1)(A)(i) (defendants must notice

their appeals within 14 days from the entry of judgment). He did not file
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the present § 2255 motion, however, until November 17, 2015, which is

196 days too late. Doc. 395 at 16.

       Murillo-Solis admits as much. See id. at 2 ("Thus, this motion is

untimely. . . ."). Nevertheless, he requests "reconsideration," which the

Court construes as an argument for equitable tolling.' Despite Murillo-

Solis' "respectful[] approach[]," it fails because he offers nothing but

legal conclusions as support (his entire motion is sixteen pages of the

same),' much less a "truly extraordinary circumstance[]" that warrants

equitable tolling. Johnson v. United States, 340 F.3d 1219, 1226 (11th

Cir. 2003). Hence, his motion is time-barred and should be denied.


1
  "The statute of limitations can be equitably tolled where a petitioner untimely files
because of extraordinary circumstances that are both beyond his control and
unavoidable even with diligence." Kicklighter v. United States, 281 F. App'x 926, 930
(11th Cir. 2008) (quoting Outler v. United States, 485 F.3d 1273, 1280 (11th Cir.
2007)).

2
  For example, Murillo-Solis claims that his attorney provided ineffective assistance
by "not effectively communicat[ing] with Defendant in a way that would procedurally
guide and direct Defendant to make an informed decision surrounding acceptance of
plea, directives at trial, and emphasis on proper and important evidentiary
documentation as it may affect the outcome of the sentence." Doe., 395 at 9
("Findings of Fact" section of Murillo-Solis' § 2255 motion). That utter lack of facts
would doom his claims if their untimeliness did not. See Chavez v. Secy, Fla. Dept of
Corr,, 647 F.3d 1057, 1061 (11th Cir, 2011) (to warrant a hearing, "allegations must
be factual and specific, not conclusory"); see also Borden v. Allen, 646 F.3d 785, 810
(11th Cir. 2011) (applying a heightened pleading requirement in habeas cases and
noting that "[t]he evidence supporting an [IAC] claim is available following the
conviction, if not before. Whatever the claim, though, the petitioner is, or should be,
aware of the evidence to support the claim before bringing his petition.").
                                           2
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     Applying the Certificate of Appealability (COA) standards set forth

in Brown v. United States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb.9,

2009), the Court discerns no COA-worthy issues at this stage of the

litigation, so no COA should issue either. 28 U.S.C. § 2253(c)(1); Rule

11(a) of the Rules Governing Habeas Corpus Cases Under 28 U.S.C. §

2254 ("The district court must issue or deny a certificate of appealability

when it enters a final order adverse to the applicant.") (emphasis added).

     SO REPORTED AND RECOMMENDED, this 3                            day of

November, 2015.

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                                                          JUDGE
                                  SOUTFMN DISTRICT OF GEORGIA
